Case 2:24-cv-03791-RGK-E    Document 79-2 Filed 02/25/25   Page 1 of 65 Page ID
                                     #:769


  1   RoBBONTA
      Attorney General of California
  2   BENJAMIN G. DIEHL
      Supervisitig l)~uty Attorney General
  3   CRISTINA M. MATSUSHIMA
      Deputy Attorney General
  4   State Bar No. 291220
       300 South Spring Stree~ Suite 1702
  5    Los Angeles, CA 9001 j-1230
       Telephone: (213) 269-6218
  6    Fax: (916) 7'31-1125
       E-mail: Cristina.Matsushima@doj.ca.gov
  7   Attorneys for Defendant Board of Trustees of the
      California State University
  8
                       IN THE UNITED STATES DISTRICT COURT
  9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11
 12
 13   EDWIN HAMID NAHAVANDI,                    2:24-cv-03791 RGK(Ex)
 14                                   Plaintiff, DISCOVERY MATTER: LOCAL
                                                 RULE 37 JOINT S'l'IPULATION IN
 15               v.                             SUPPORT OF DEFENDANT'S
                                                 MOTION FOR TERMINATING
 16                                              SANCTIONS AND MONETARY
      BOARD OF TRUSTEES OF THE                   SANCTIONS OR, IN THE
 17   CALIFORNIA STATE                           ALTERNATIVE, EVIDENTIARY
      UNIVERSITY (the State of                   SANCTIONS
 18   California acting in its higher
      education capacity),                       Date:         March 28, 2025
 19                                              Time:         9:30 a.m.
                                   Defendant. Courtroom: 750
20                                               Judge:        Magistrate Judge
                                                               Charles F. Eicl<:
21                                               Discovery Cutoff: A~ril 11, 2025
22                                               Pretrial Conference: June 23, 2025
                                                 Trial Date: July 8, 2025
                                                 Action Filed: May 7, 2024
23    -------------~
24
25
26
27
28
Case 2:24-cv-03791-RGK-E               Document 79-2 Filed 02/25/25                       Page 2 of 65 Page ID
                                                #:770


  1                                            TABLE OF CONTENTS
  2
                                                                                                                           Page
  3   INTRODUCTORY STATEMENTS ......................................................................... 4
  4           I.    Moving Party CSU ................................................................................ 4
              II.   Opposing Party ...................................................................................... 5
  5   Initial Disclosures ...................................................................................................... 5
  6           I.    Moving Party's Requested Information- Initial Disclosures .............. 5
              II .  Respondmg  • Party ' s "Wntten      •       D.1sc1osures" .......................................... . 5
  7
              III. Moving Party's Position ....................................................................... 5
  8           IV. Opposing Party's Position ..................................................................... 7
  9   Special Interrogatories (Set 1) ................................................................................... 7
 10           I.    Interrogatory No. 1................................................................................ 7
              II.   Interrogatory No. 2 ................................................................................ 9
 11           III. Interrogatory No. 3 .............................................................................. 12
 12           IV. Interrogatory No. 4 .............................................................................. 14
 13           V.    Interrogatory No. 5 .............................................................................. 17
              VI. Interrogatory No. 6 .............................................................................. 19
 14           VII. Interrogatory No. 7 .............................................................................. 21
 15           VIII. Interrogatory No. 8 .............................................................................. 24
 16           IX. Interrogatory No. 9 .............................................................................. 26
              X.    Interrogatory No. 10 ............................................................................ 29
 17           XI. Interrogatory No. 11 ............................................................................ 31
 18           XII. Interrogatory No. 12 ............................................................................ 34
 19           XIII. Interrogatory No. 13 ............................................................................ 36
              XIV. Interrogatory No. 14 ............................................................................ 38
20            XV. Interrogatory No. 15 ............................................................................ 41
21            XVI. Interrogatory No. 16 ............................................................................ 43
22            XVII. Interrogatory No. 17 ............................................................................ 45
              XVIII.       Interrogatory No. 18 ................................................................. 48
23            XIX. Interrogatory No. 19 ............................................................................ 50
24            XX. Interrogatory No. 20 ............................................................................ 52
25            XXI. Interrogatory No. 21 ............................................................................ 55
              XXII. Interrogatory No. 22 ............................................................................ 57
26            XXIII.       Interrogatory No. 23 ................................................................. 60
27            XXIV.        Interrogatory No. 24 ................................................................. 62
28

                                                                  1
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 3 of 65 Page ID
                                      #:771


  1
                             INTRODUCTORY STATEMENTS
  2
      I.   MOVING PARTY CSU
  3
           Defendant Board of Trustees of the California State University (CSU or
  4
      Moving Party) moves for sanctions against Plaintiff Edwin Hamid N ahavandi
  5
      (Plaintiff) for his failure to comply with Magistrate Judge Charles F. Eick's
  6
      Discovery Order, dated December 18, 2024, instructing Plaintiff to "serve written
  7
      Rule 26(a) initial disclosures" and "serve without objection verified answers to the
  8
      subject interrogatories[.]" Discovery (Disc) Order 2-3, ECF 67; Matsushima Deel.,
  9
      Ex. A. Plaintiff has failed to serve responses that comply with the Discovery Order
 10
      or the applicable Federal Rules of Civil Procedure, which is tantamount to serving
 11
      no responses at all. Specifically, while Plaintiffs discovery responses vaguely
 12
      reference his unverified Complaint and other Court filings, he fails to provide
 13
      substantive information or identify with any specificity where in these documents
 14
      the responsive information may be found. See Matsushima Deel., Exs. B-D.
 15
           CSU respectfully requests terminating sanctions and attorney's fees or, in the
 16
      alternative, evidentiary sanctions against Plaintiff. Plaintiffs ongoing refusal to
 17
      meaningfully participate in discovery in this matter has severely prejudiced CSU' s
 18
      ability to investigate the basis for his allegations, meaningful evaluate resolution
 19
      options, or prepare its defense, and Plaintiff cannot be permitted to benefit from his
20
      impertinence and disregard for basic procedure.
21
           Prior to bringing this motion, on January 27, 2025, CSU's counsel sent
22
      Plaintiff a letter detailing the deficiencies in his discovery responses. Matsushima
23
      Deel., Ex. E. The parties then conferred in person after Plaintiff's deposition on
24
      January 29, 2025. Matsushima Deel.,,, 12-13. During the conference, CSU's
25
      counsel explained that Plaintiff's discovery responses were deficient, particularly
26
      because they only vaguely referenced his own Complaint and other filings without
27
      providing substantive responses or sufficient detail. Id. CSU's counsel expressly
28

                                                4
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25        Page 4 of 65 Page ID
                                       #:772


  1   noted that failure to provide compliant responses could result in monetary,
  2   terminating, or evidentiary sanctions. Id. Plaintiff, however, stated that he would
  3   not amend his interrogatory responses, and he affirmed that he was resting on the
  4   statements in his Complaint and other court filings. Id. This Motion follows.
  5         The Moving Party's Position is restated almost verbatim regarding Special
  6   Interrogatory Nos. 2 through 24. CSU repeats its position as to each interrogatory
  7   solely to conform to the Local Rule 37-2.1 Joint Stipulation formatting
  8   requirements.
  9   II.   OPPOSING PARTY
 10         Plaintiff provided his response in a separate document. See Matsushima Deel.,
 11   ~ 18, Ex. I.

 12                                INITIAL DISCLOSURES
 13   I.    MOVING PARTY'S REQUESTED INFORMATION - INITIAL DISCLOSURES
 14         Defendant requested written disclosures that comply with Federal Rules of
 15   Civil Procedure, rule 26 (a)(l)(A)(i), including "the name and, if known, the
 16   address and telephone number of each individual likely to have discoverable
 17   information-along with the subjects of that information-that the disclosing party
 18   may use to support its claims or defenses, unless the use would be solely for
 19   impeachment[.]"
20    II.   RESPONDING PARTY'S "WRITTEN DISCLOSURES"
21          Plaintiff's written disclosures consist of his statement that "The entities along
22    with the subjects of that information as characterized by Plaintiffs given
23    information towards case number 2:24-cv-03791 serves as the true disclosure.
24    Defendant CSU has records pertaining to this information under their control and
25    custody, for possession."
26    III. MOVING PARTY'S POSITION
27          Plaintiff has failed to provide written disclosures in compliance with the
28    Federal Rules of Civil Procedure or this Court's Discovery Order. His "Written
                                                 5
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 5 of 65 Page ID
                                      #:773


  1   Disclosures" are vague, nonresponsive, and incomprehensible, which is tantamount
  2   to serving no disclosure at all. Fed. R. Civ. P. 37(a)(4). Plaintiffs repeated failures
  3   to serve compliant responses thwarts the very purpose of discovery, which is "to
  4   remove surprise from trial preparation so the parties can obtain evidence necessary
  5   to evaluate and resolve their dispute." US. ex rel. Schwartz v. TRW, Inc., 211
  6   F.R.D. 388, 392 (C.D. Cal. 2002) (citing Oakes v. Halvorsen Marine Ltd., 179
  7   F.R.D. 281,283 (C.D.Cal.1998)).
  8        Sanctions are appropriate here. "If a party fails to disclose information
  9   required by Rule 26 then exclusion of the evidence under Federal Rule of Civil
 10   Procedure 37 is proper 'unless the failure to disclose was substantially justified or
 11   harmless."' Santa Clarita Valley Water Agency v. Whittaker Corp., 99 F.4th 458,
 12   470 (9th Cir. 2024) (quoting Hoffman v. Constr. Protective Servs. Inc., 541 F.3d
 13   1175, 1179 (9th Cir. 2008)). Moreover, a terminating sanction is justified based
 14   upon a showing of "willfulness, bad faith, and fault." Connecticut Gen. Life Ins.
 15   Co. v. New Images ofBeverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007)
 16   (discussing the factors to consider when evaluating appropriateness of terminating
 17   sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). The party facing sanctions "'carries the
 18   burden of demonstrating that the failure to comply with" disclosure rules "is
 19   substantially justified or harmless."' Haas v. Travelex Ins. Servs. Inc., 679 F. Supp.
20    3d 962, 966 (C.D. Cal. 2023) (quoting Jarrow Formulas, Inc. v. Now Health Grp.,
21    Inc., No. CV 10-8301 PSG (JCx), 2012 WL 3186576, at *15 (C.D. Cal. Aug. 2,
22    2012)).
23         Plaintiff has failed to comply with the very basic requirements of Rule
24    26(a)(l)(A)(i), namely his duty to provide the names of individuals "likely to have
25    discoverable information," which will help CSU investigate Plaintiffs claims and
26    develop its own defense. In fact, despite initiating this action in May 2024,
27    Plaintiff has provided no substantive written responses at all, either via Written
28    Disclosure or in response to discovery requests. Plaintiffs failure to meaningfully
                                                6
Case 2:24-cv-03791-RGK-E        Document 79-2 Filed 02/25/25     Page 6 of 65 Page ID
                                         #:774


  1   participate in the discovery process has prejudiced CSU's ability to evaluate and/or
  2   resolve this dispute. This matter cannot be tried on the merits because CSU
  3   currently has no access to the "true facts" of the case, beyond the information
  4   within its own possession. Connecticut Gen. Life Ins. Co., 482 F.3d at 1096.
  5   Importantly, this Court already warned Plaintiff of the potential for sanctions,
  6   including termination sanctions, that may result from his "failure timely to comply
  7   fully" with the Court's Discovery Order. Disc. Order 2-3, ECF 67; Matsushima
  8   Deel., Ex. A.
  9        Due to Plaintiffs failure to comply with this Court's Discovery Order, CSU
 10   seeks sanctions, including attorney's fees and dismissal of this action or, in the
 11   alternative, an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P.
 12   37(b)(2)(A)(ii), (v).
 13   IV. OPPOSING PARTY'S POSITION
 14        Plaintiff provided his response in a separate document. See Matsushima Deel.,
 15   118, Ex. I.
 16                           SPECIAL INTERROGATORIES (SET 1)
 17   I.   INTERROGATORY No. 1
 18        Interrogatory: IDENTIFY YOUR roommate(s), as referenced in paragraphs
 19   10 through 15, 49, and 99 of the COMPLAINT.
20         Response: Plaintiff, a witness to the events, provides this response based on
21    either his current recollection, memory, and information reasonably available, or its
22    entirety. Both roommates were pronounced as "KRIS-chen", as their names reflect
23    on such contextual pronunciation towards their legal names. Defendant CSU has
24    records pertaining to this information under their control and custody, for
25    possession, of all Plaintiffs roommates contextually pronounced as "KRIS-chen".
26         Moving Party's Position: A party may serve on any other party written
27    interrogatories that "may relate to any matter that may be inquired into under Rule
28    26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
                                                7
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25       Page 7 of 65 Page ID
                                       #:775


  1   party to whom they are directed," and the answering party must sign the responses.
  2   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  3        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  4   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  5   have "unambiguously" rejected as deficient the assertion that the requested
  6   information is already in the propounding party's possession. Nat'! Acad. of
  7   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  8   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  9   '"answer an interrogatory by specifying records from which the answers may be
 10   obtained and by making the records available for inspection,"' a "party that elects
 11   to avail itself of this option ... must 'specify where in the records the answers
 12   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 13   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 14   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 15   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 16        If a party "fails to obey an order to provide or permit discovery," the court
 17   may "issue further just orders," including: prohibiting the disobedient party from
 18   supporting or opposing designated claims or defenses, or from introducing
 19   designated matters in evidence; striking pleadings in whole or in part; dismissing
20    the action or proceeding in whole or in part; or rendering a default judgment against
21    the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
22    severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
23    Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
24    when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
25    critical factor to be considered in case-dispositive sanctions is whether 'a party's
26    discovery violations make it impossible for a court to be confident that the parties
27    will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
28    1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
                                                8
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25       Page 8 of 65 Page ID
                                       #:776


  1   "'carries the burden of demonstrating that the failure to comply with" disclosure
  2   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  3   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  4         Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  5   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
  6   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  7   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  8   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  9   response to each and every interrogatory referring to his prior court filings, which is
 10   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 11   repeated failures to serve compliant responses thwarts the very purpose of
 12   discovery, which is "to remove surprise from trial preparation so the parties can
 13   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 14   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 15         Plaintiffs failure to meaningfully participate in the discovery process has
 16   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 17   be tried on the merits because CSU currently has no access to the "true facts" of the
 18   case, beyond the information within its own possession. Importantly, this Court
 19   already warned Plaintiff of the potential for sanctions, including termination
20    sanctions, that may result from his "failure timely to comply fully" with the Court's
21    Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
22    Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
23    sanctions including attorney's fees and dismissal of this action or, in the alternative,
24    an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
25          Opposing Party's Position: Plaintiff provided his response in a separate
26    document. See Matsushima Deel., 1 18, Ex. I.
27    II.   INTERROGATORY No. 2

28          Interrogatory: STATE ALL FACTS in support of YOUR allegation that

                                                9
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25        Page 9 of 65 Page ID
                                       #:777


  1   YOU experienced Antisemitic rhetoric and harassment from YOUR roommate(s).
  2        Response: Plaintiff provides this response based on either his current
  3   recollection, memory, and information reasonably available, or its entirety.
  4   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
  5   allegation, as characterized by this interrogatory, but rather is factual. On the basis
  6   of Plaintiffs previously stated emphasis aforementioned above, the claims in
  7   Plaintiffs Complaint serve as the true integrity of the response to this interrogatory.
  8        Moving Party's Position: A party may serve on any other party written
  9   interrogatories that "may relate to any matter that may be inquired into under Rule
 10   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 11   party to whom they are directed," and the answering party must sign the responses.
 12   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 13        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 14   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 15   have "unambiguously" rejected as deficient the assertion that the requested
 16   information is already in the propounding party's possession. Nat'! Acad. of
 17   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 18   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 19   '"answer an interrogatory by specifying records from which the answers may be
20    obtained and by making the records available for inspection,"' a "party that elects
21    to avail itself of this option ... must 'specify where in the records the answers
22    [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
23    322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
24    Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
25    Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
26         If a party "fails to obey an order to provide or permit discovery," the court
27    may "issue further just orders," including: prohibiting the disobedient party from
28    supporting or opposing designated claims or defenses, or from introducing
                                                10
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 10 of 65 Page ID
                                      #:778


  1   designated matters in evidence; striking pleadings in whole or in part; dismissing
  2   the action or proceeding in whole or in part; or rendering a default judgment against
  3   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  4   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
  5   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
  6   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  7   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  8   discovery violations make it impossible for a court to be confident that the parties
  9   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 10   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 11   "'carries the burden of demonstrating that the failure to comply with" disclosure
 12   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 13   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 14        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 15   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 16   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
 17   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 18   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 19   response to each and every interrogatory referring to his prior court filings, which is
 20   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 21   repeated failures to serve compliant responses thwarts the very purpose of
 22   discovery, which is "to remove surprise from trial preparation so the parties can
 23   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 24   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 25        Plaintiff's failure to meaningfully participate in the discovery process has
 26   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 27   be tried on the merits because CSU currently has no access to the "true facts" of the
 28   case, beyond the information within its own possession. Importantly, this Court
                                                11
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 11 of 65 Page ID
                                      #:779


  1   already warned Plaintiff of the potential for sanctions, including termination
  2   sanctions, that may result from his "failure timely to comply fully" with the Court's
  3   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  4   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  5   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  6   an order excluding Plaintiff's evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  7        Opposing Party's Position: Plaintiff provided his response in a separate
  8   document. See Matsushima Deel.,, 18, Ex. I.
  9   Ill. INTERROGATORY No. 3
 10        Interrogatory: IDENTIFY all CSU faculty and staff who YOU allege
 11   harassed, threatened, and/or discriminated against YOU based on YOUR race,
 12   religion, and/or national origin.
 13        Response: Plaintiff provides this response based on either his current
 14   recollection, memory, and information reasonably available, or its entirety.
 15   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 16   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 17   of Plaintiffs previously stated emphasis aforementioned above, the entities in
 18   Plaintiffs Complaint serve as the true integrity of the response to this interrogatory.
 19        Moving Party's Position: A party may serve on any other party written
 20   interrogatories that "may relate to any matter that may be inquired into under Rule
 21   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 22   party to whom they are directed," and the answering party must sign the responses.
 23   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 24        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 25   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 26   have "unambiguously" rejected as deficient the assertion that the requested
 27   information is already in the propounding party's possession. Nat'! Acad. of
 28   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
                                                12
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 12 of 65 Page ID
                                      #:780


  1   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  2   "'answer an interrogatory by specifying records from which the answers may be
  3   obtained and by making the records available for inspection,"' a "party that elects
  4   to avail itself of this option ... must 'specify where in the records the answers
  5   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  6   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  7   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  8   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  9        If a party "fails to obey an order to provide or permit discovery," the court
 10   may "issue further just orders," including: prohibiting the disobedient party from
 11   supporting or opposing designated claims or defenses, or from introducing
 12   designated matters in evidence; striking pleadings in whole or in part; dismissing
 13   the action or proceeding in whole or in part; or rendering a default judgment against
 14   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 15   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 16   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 17   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 18   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 19   discovery violations make it impossible for a court to be confident that the parties
 20   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 21   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 22   "'carries the burden of demonstrating that the failure to comply with" disclosure
 23   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 24   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 25        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 26   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 27   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 28   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
                                               13
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 13 of 65 Page ID
                                       #:781


  1   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  2   response to each and every interrogatory referring to his prior court filings, which is
  3   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
  4   repeated failures to serve compliant responses thwarts the very purpose of
  5   discovery, which is "to remove surprise from trial preparation so the parties can
  6   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  7   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  8        Plaintiffs failure to meaningfully participate in the discovery process has
  9   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 10   be tried on the merits because CSU currently has no access to the "true facts" of the
 11   case, beyond the information within its own possession. Importantly, this Court
 12   already warned Plaintiff of the potential for sanctions, including termination
 13   sanctions, that may result from his "failure timely to comply fully" with the Court's
 14   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 15   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 16   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 17   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 18        Opposing Party's Position: Plaintiff provided his response in a separate
 19   document. See Matsushima Deel., 118, Ex. I.
 20   IV. INTERROGATORY No. 4
 21        Interrogatory: If YOU contend that CSU retaliated against YOU due to
 22   YOUR race, religion, or national origin, STATE ALL FACTS in support of YOUR
 23   contention.
 24        Response: Plaintiff provides this response based on either his current
 25   recollection, memory, and information reasonably available, or its entirety.
 26   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
 27   given information towards case number 2:24-cv-03791 as the true integrity of the
 28   response to this interrogatory.
                                                 14
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 14 of 65 Page ID
                                      #:782


  1        Moving Party's Position: A party may serve on any other party written
  2   interrogatories that "may relate to any matter that may be inquired into under Rule
  3   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  4   party to whom they are directed," and the answering party must sign the responses.
  5   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  6        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  7   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  8   have "unambiguously" rejected as deficient the assertion that the requested
  9   information is already in the propounding party's possession. Nat'l Acad. of
 10   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 11   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 12   "'answer an interrogatory by specifying records from which the answers may be
 13   obtained and by making the records available for inspection,"' a "party that elects
 14   to avail itself of this option ... must 'specify where in the records the answers
 15   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 16   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 17   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 18   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 19        If a party "fails to obey an order to provide or permit discovery," the court
 20   may "issue further just orders," including: prohibiting the disobedient party from
 21   supporting or opposing designated claims or defenses, or from introducing
 22   designated matters in evidence; striking pleadings in whole or in part; dismissing
 23   the action or proceeding in whole or in part; or rendering a default judgment against
 24   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 25   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 26   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 27   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 28   critical factor to be considered in case-dispositive sanctions is whether 'a party's
                                               15
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 15 of 65 Page ID
                                      #:783


  1   discovery violations make it impossible for a court to be confident that the parties
  2   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
  3   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  4   "'carries the burden of demonstrating that the failure to comply with" disclosure
  5   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  6   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  7        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  8   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
  9   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
 10   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 11   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 12   response to each and every interrogatory referring to his prior court filings, which is
 13   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 14   repeated failures to serve compliant responses thwarts the very purpose of
 15   discovery, which is "to remove surprise from trial preparation so the parties can
 16   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 17   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 18        Plaintiffs failure to meaningfully participate in the discovery process has
 19   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 20   be tried on the merits because CSU currently has no access to the "true facts" of the
 21   case, beyond the information within its own possession. Importantly, this Court
 22   already warned Plaintiff of the potential for sanctions, including termination
 23   sanctions, that may result from his "failure timely to comply fully" with the Court's
 24   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 25   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 26   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 27   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 28        Opposing Party's Position: Plaintiff provided his response in a separate

                                                16
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 16 of 65 Page ID
                                      #:784


  1   document. See Matsushima Deel., 118, Ex. I.
  2   V.   INTERROGATORY NO. 5
  3        Interrogatory: IDENTIFY all CSU students who YOU allege harassed,
  4   threatened, or discriminated against YOU based on YOUR race, religion, and/or
  5   national origin.
  6        Response: Plaintiff provides this response based on either his current
  7   recollection, memory, and information reasonably available, or its entirety.
  8   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
  9   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 10   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 11   specifically reaffirms to the entirety of all his given information towards case
 12   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
 13        Moving Party's Position: A party may serve on any other party written
 14   interrogatories that "may relate to any matter that may be inquired into under Rule
 15   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 16   party to whom they are directed," and the answering party must sign the responses.
 17   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 18        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 19   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 20   have "unambiguously" rejected as deficient the assertion that the requested
 21   information is already in the propounding party's possession. Nat'! Acad. of
 22   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 23   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 24   '"answer an interrogatory by specifying records from which the answers may be
 25   obtained and by making the records available for inspection,"' a "party that elects
 26   to avail itself of this option ... must 'specify where in the records the answers
 27   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 28   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
                                                17
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 17 of 65 Page ID
                                      #:785


  1   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  2   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  3        If a party "fails to obey an order to provide or permit discovery," the court
  4   may "issue further just orders," including: prohibiting the disobedient party from
  5   supporting or opposing designated claims or defenses, or from introducing
  6   designated matters in evidence; striking pleadings in whole or in part; dismissing
  7   the action or proceeding in whole or in part; or rendering a default judgment against
  8   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  9   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 10   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
 11   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 12   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 13   discovery violations make it impossible for a court to be confident that the parties
 14   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 15   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 16   "'carries the burden of demonstrating that the failure to comply with" disclosure
 17   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 18   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 19        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 20   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 21   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 22   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 23   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 24   response to each and every interrogatory referring to his prior court filings, which is
 25   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 26   repeated failures to serve compliant responses thwarts the very purpose of
 27   discovery, which is "to remove surprise from trial preparation so the parties can
 28   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
                                               18
Case 2:24-cv-03791-RGK-E       Document 79-2 Filed 02/25/25      Page 18 of 65 Page ID
                                        #:786


  1   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  2        Plaintiffs failure to meaningfully participate in the discovery process has
  3   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  4   be tried on the merits because CSU currently has no access to the "true facts" of the
  5   case, beyond the information within its own possession. Importantly, this Court
  6   already warned Plaintiff of the potential for sanctions, including termination
  7   sanctions, that may result from his "failure timely to comply fully" with the Court's
  8   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  9   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 10   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 11   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 12        Opposing Party's Position: Plaintiff provided his response in a separate
 13   document. See Matsushima Deel., ,-r 18, Ex. I.
 14   VI. INTERROGATORY NO. 6
 15        Interrogatory: STATE ALL FACTS in support of YOUR assertion in
 16   paragraph 38 of the COMPLAINT that YOU were worried RAMIREZ and the
 17   Office of the Vice President for Student Affairs "might refuse to enforce the CSU's
 18   policies, and retaliate back[.]"
 19        Response: Plaintiff provides this response based on either his current
 20   recollection, memory, and information reasonably available, or its entirety.
 21   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 22   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 23   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 24   specifically reaffirms that his Complaint serves as the true integrity of the response
 25   to this interrogatory.
 26        Moving Party's Position: A party may serve on any other party written
 27   interrogatories that "may relate to any matter that may be inquired into under Rule
 28   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
                                                19
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 19 of 65 Page ID
                                      #:787


  1   party to whom they are directed," and the answering party must sign the responses.
  2   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  3        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  4   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  5   have "unambiguously" rejected as deficient the assertion that the requested
  6   information is already in the propounding party's possession. Nat'! Acad. of
  7   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  8   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  9   '"answer an interrogatory by specifying records from which the answers may be
 10   obtained and by making the records available for inspection,"' a "party that elects
 11   to avail itself of this option ... must 'specify where in the records the answers
 12   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 13   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 14   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 15   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 16        If a party "fails to obey an order to provide or permit discovery," the court
 17   may "issue further just orders," including: prohibiting the disobedient party from
 18   supporting or opposing designated claims or defenses, or from introducing
 19   designated matters in evidence; striking pleadings in whole or in part; dismissing
 20   the action or proceeding in whole or in part; or rendering a default judgment against
 21   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 22   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 23   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
 24   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 25   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 26   discovery violations make it impossible for a court to be confident that the parties
 27   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 28   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
                                               20
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 20 of 65 Page ID
                                      #:788


  1   "'carries the burden of demonstrating that the failure to comply with" disclosure
  2   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  3   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  4        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  5   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
  6   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  7   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  8   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  9   response to each and every interrogatory referring to his prior court filings, which is
 10   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 11   repeated failures to serve compliant responses thwarts the very purpose of
 12   discovery, which is "to remove surprise from trial preparation so the parties can
 13   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 14   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 15        Plaintiffs failure to meaningfully participate in the discovery process has
 16   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 17   be tried on the merits because CSU currently has no access to the "true facts" of the
 18   case, beyond the information within its own possession. Importantly, this Court
 19   already warned Plaintiff of the potential for sanctions, including termination
 20   sanctions, that may result from his "failure timely to comply fully" with the Court's
 21   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 22   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 23   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 24   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 25        Opposing Party's Position: Plaintiff provided his response in a separate
 26   document. See Matsushima Deel., 118, Ex. I.
 27   VII. INTERROGATORY No. 7
 28        Interrogatory: STATE ALL FACTS in support of YOUR contention that a

                                                21
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 21 of 65 Page ID
                                       #:789


  1   CSU student "wanted to physically harm" YOU, YOUR "Jewish religion and
  2   community, and place of worship, which has children," as referenced in paragraph
  3   38 of the COMPLAINT.
  4        Response: Plaintiff provides this response based on either his current
  5   recollection, memory, and information reasonably available, or its entirety.
  6   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
  7   given information towards case number 2:24-cv-03791 as the true integrity of the
  8   response to this interrogatory.
  9        Moving Party's Position: A party may serve on any other party written
 10   interrogatories that "may relate to any matter that may be inquired into under Rule
 11   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 12   party to whom they are directed," and the answering party must sign the responses.
 13   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 14        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 15   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 16   have "unambiguously" rejected as deficient the assertion that the requested
 17   information is already in the propounding party's possession. Nat'! Acad. of
 18   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 19   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 20   "'answer an interrogatory by specifying records from which the answers may be
 21   obtained and by making the records available for inspection,"' a "party that elects
 22   to avail itself of this option ... must 'specify where in the records the answers
 23   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 24   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 25   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 26   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 27        If a party "fails to obey an order to provide or permit discovery," the court
 28   may "issue further just orders," including: prohibiting the disobedient party from
                                                 22
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 22 of 65 Page ID
                                      #:790


  1   supporting or opposing designated claims or defenses, or from introducing
  2   designated matters in evidence; striking pleadings in whole or in part; dismissing
  3   the action or proceeding in whole or in part; or rendering a default judgment against
  4   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  5   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
  6   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
  7   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  8   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  9   discovery violations make it impossible for a court to be confident that the parties
 10   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 11   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 12   "'carries the burden of demonstrating that the failure to comply with" disclosure
 13   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 14   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 15        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 16   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 17   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 18   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 19   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 20   response to each and every interrogatory referring to his prior court filings, which is
 21   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 22   repeated failures to serve compliant responses thwarts the very purpose of
 23   discovery, which is "to remove surprise from trial preparation so the parties can
 24   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 25   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 26        Plaintiff's failure to meaningfully participate in the discovery process has
 27   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 28   be tried on the merits because CSU currently has no access to the "true facts" of the
                                               23
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 23 of 65 Page ID
                                       #:791


  1   case, beyond the information within its own possession. Importantly, this Court
  2   already warned Plaintiff of the potential for sanctions, including termination
  3   sanctions, that may result from his "failure timely to comply fully" with the Court's
  4   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  5   Plaintiff's failure to comply with this Court's Discovery Order, CSU seeks
  6   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  7   an order excluding Plaintiff's evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  8        Opposing Party's Position: Plaintiff provided his response in a separate
  9   document. See Matsushima Deel., 1 18, Ex. I.
 10   VIII. INTERROGATORY NO. 8
 11        Interrogatory: STATE ALL FACTS in support of YOUR contention that
 12   YOU received death threats from a CSU student.
 13        Response: Plaintiff provides this response based on either his current
 14   recollection, memory, and information reasonably available, or its entirety.
 15   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
 16   given information towards case number 2:24-cv-03791 as the true integrity of the
 17   response to this interrogatory.
 18        Moving Party's Position: A party may serve on any other party written
 19   interrogatories that "may relate to any matter that may be inquired into under Rule
 20   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 21   party to whom they are directed," and the answering party must sign the responses.
 22   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 23        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 24   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 25   have "unambiguously" rejected as deficient the assertion that the requested
 26   information is already in the propounding party's possession. Nat'! Acad. of
 27   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 28   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
                                                 24
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 24 of 65 Page ID
                                      #:792


  1   "'answer an interrogatory by specifying records from which the answers may be
  2   obtained and by making the records available for inspection,"' a "party that elects
  3   to avail itself of this option ... must 'specify where in the records the answers
  4   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  5   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  6   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  7   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  8        If a party "fails to obey an order to provide or permit discovery," the court
  9   may "issue further just orders," including: prohibiting the disobedient party from
 10   supporting or opposing designated claims or defenses, or from introducing
 11   designated matters in evidence; striking pleadings in whole or in part; dismissing
 12   the action or proceeding in whole or in part; or rendering a default judgment against
 13   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 14   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 15   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 16   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 17   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 18   discovery violations make it impossible for a court to be confident that the parties
 19   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 20   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 21   "'carries the burden of demonstrating that the failure to comply with" disclosure
 22   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 23   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 24        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 25   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 26   Rule 26(b )( 1), and ordered Plaintiff to "serve without objection verified answers to
 27   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 28   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
                                               25
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 25 of 65 Page ID
                                      #:793


  1   response to each and every interrogatory referring to his prior court filings, which is
  2   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
  3   repeated failures to serve compliant responses thwarts the very purpose of
  4   discovery, which is "to remove surprise from trial preparation so the parties can
  5   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  6   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  7        Plaintiff's failure to meaningfully participate in the discovery process has
  8   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  9   be tried on the merits because CSU currently has no access to the "true facts" of the
 10   case, beyond the information within its own possession. Importantly, this Court
 11   already warned Plaintiff of the potential for sanctions, including termination
 12   sanctions, that may result from his "failure timely to comply fully" with the Court's
 13   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 14   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 15   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 16   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 17        Opposing Party's Position: Plaintiff provided his response in a separate
 18   document. See Matsushima Deel., 1 18, Ex. I.
 19   IX. INTERROGATORY NO. 9
 20        Interrogatory: IfYOU allege that YOU were subjected to antisemitic
 21   discrimination, harassment, or hate speech, STATE ALL FACTS in support of
 22   YOUR contention, including a description of the action itself, contents of such
 23   speech, the actor or speaker, and the time and location of the interaction.
 24        Response: Plaintiff provides this response based on either his current
 25   recollection, memory, and information reasonably available, or its entirety.
 26   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 27   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 28   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
                                                26
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 26 of 65 Page ID
                                      #:794


  1   specifically reaffirms to the entirety of all his given information towards case
  2   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
  3        Moving Party's Position: A party may serve on any other party written
  4   interrogatories that "may relate to any matter that may be inquired into under Rule
  5   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  6   party to whom they are directed," and the answering party must sign the responses.
  7   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  8        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  9   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 10   have "unambiguously" rejected as deficient the assertion that the requested
 11   information is already in the propounding party's possession. Nat'! Acad. of
 12   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 13   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 14   "'answer an interrogatory by specifying records from which the answers may be
 15   obtained and by making the records available for inspection,"' a "party that elects
 16   to avail itself of this option ... must 'specify where in the records the answers
 17   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 18   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 19   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 20   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 21        If a party "fails to obey an order to provide or permit discovery," the court
 22   may "issue further just orders," including: prohibiting the disobedient party from
 23   supporting or opposing designated claims or defenses, or from introducing
 24   designated matters in evidence; striking pleadings in whole or in part; dismissing
 25   the action or proceeding in whole or in part; or rendering a default judgment against
 26   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 27   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 28   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider

                                               27
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 27 of 65 Page ID
                                      #:795


  1   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  2   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  3   discovery violations make it impossible for a court to be confident that the parties
  4   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
  5   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  6   "'carries the burden of demonstrating that the failure to comply with" disclosure
  7   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  8   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  9        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 10   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 11   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 12   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 13   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 14   response to each and every interrogatory referring to his prior court filings, which is
 15   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 16   repeated failures to serve compliant responses thwarts the very purpose of
 17   discovery, which is "to remove surprise from trial preparation so the parties can
 18   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 19   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 20        Plaintiff's failure to meaningfully participate in the discovery process has
 21   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 22   be tried on the merits because CSU currently has no access to the "true facts" of the
 23   case, beyond the information within its own possession. Importantly, this Court
 24   already warned Plaintiff of the potential for sanctions, including termination
 25   sanctions, that may result from his "failure timely to comply fully" with the Court's
 26   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 27   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 28   sanctions including attorney's fees and dismissal of this action or, in the alternative,
                                                28
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 28 of 65 Page ID
                                      #:796


  1   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  2        Opposing Party's Position: Plaintiff provided his response in a separate
  3   document. See Matsushima Deel., ,-r 18, Ex. I.
  4   X.   INTERROGATORY No. 10

  5        Interrogatory: STATE ALL FACTS in support of YOUR contention that
  6   YOU were "scared to go into campus at night due to the fear of being harmed," as
  7   alleged in paragraph 47 of the COMPLAINT.
  8        Response: Plaintiff provides this response based on either his current
  9   recollection, memory, and information reasonably available, or its entirety.
 10   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 11   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 12   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 13   specifically reaffirms to the entirety of all his given information towards case
 14   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
 15        Moving Party's Position: A party may serve on any other party written
 16   interrogatories that "may relate to any matter that may be inquired into under Rule
 17   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 18   party to whom they are directed," and the answering party must sign the responses.
 19   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 20        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 21   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 22   have "unambiguously" rejected as deficient the assertion that the requested
 23   information is already in the propounding party's possession. Nat'l Acad. of
 24   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 25   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 26   "'answer an interrogatory by specifying records from which the answers may be
 27   obtained and by making the records available for inspection,"' a "party that elects
 28   to avail itself of this option ... must 'specify where in the records the answers
                                                29
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 29 of 65 Page ID
                                      #:797


  1   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  2   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  3   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  4   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  5        If a party "fails to obey an order to provide or permit discovery," the court
  6   may "issue further just orders," including: prohibiting the disobedient party from
  7   supporting or opposing designated claims or defenses, or from introducing
  8   designated matters in evidence; striking pleadings in whole or in part; dismissing
  9   the action or proceeding in whole or in part; or rendering a default judgment against
 10   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 11   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 12   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 13   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 14   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 15   discovery violations make it impossible for a court to be confident that the parties
 16   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 17   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 18   "'carries the burden of demonstrating that the failure to comply with" disclosure
 19   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 20   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 21        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 22   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 23   Rule 26(b )( 1), and ordered Plaintiff to "serve without objection verified answers to
 24   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 25   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 26   response to each and every interrogatory referring to his prior court filings, which is
 27   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 28   repeated failures to serve compliant responses thwarts the very purpose of
                                               30
Case 2:24-cv-03791-RGK-E       Document 79-2 Filed 02/25/25      Page 30 of 65 Page ID
                                        #:798


  1   discovery, which is "to remove surprise from trial preparation so the parties can
  2   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  3   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  4        Plaintiff's failure to meaningfully participate in the discovery process has
  5   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  6   be tried on the merits because CSU currently has no access to the "true facts" of the
  7   case, beyond the information within its own possession. Importantly, this Court
  8   already warned Plaintiff of the potential for sanctions, including termination
  9   sanctions, that may result from his "failure timely to comply fully" with the Court's
 10   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 11   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 12   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 13   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 14        Opposing Party's Position: Plaintiff provided his response in a separate
 15   document. See Matsushima Deel., ,-r 18, Ex. I.
 16   XI. INTERROGATORYN0.11
 17        Interrogatory: STATE ALL FACTS in support ofYOUR allegations that
 18   CSU prevented YOU from filing complaints and/or reports regarding antisemitic
 19   harassment and discrimination.
 20        Response: Plaintiff provides this response based on either his current
 21   recollection, memory, and information reasonably available, or its entirety.
 22   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 23   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 24   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 25   specifically reaffirms that his Complaint serves as the true integrity of the response
 26   to this interrogatory.
 27        Moving Party's Position: A party may serve on any other party written
 28   interrogatories that "may relate to any matter that may be inquired into under Rule
                                                31
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 31 of 65 Page ID
                                      #:799


  1   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  2   party to whom they are directed," and the answering party must sign the responses.
  3   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  4        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  5   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  6   have "unambiguously" rejected as deficient the assertion that the requested
  7   information is already in the propounding party's possession. Nat'! Acad. of
  8   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  9   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 10   '"answer an interrogatory by specifying records from which the answers may be
 11   obtained and by making the records available for inspection,"' a "party that elects
 12   to avail itself of this option ... must 'specify where in the records the answers
 13   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 14   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 15   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 16   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 17        If a party "fails to obey an order to provide or permit discovery," the court
 18   may "issue further just orders," including: prohibiting the disobedient party from
 19   supporting or opposing designated claims or defenses, or from introducing
 20   designated matters in evidence; striking pleadings in whole or in part; dismissing
 21   the action or proceeding in whole or in part; or rendering a default judgment against
 22   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 23   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 24   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
 25   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 26   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 27   discovery violations make it impossible for a court to be confident that the parties
 28   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
                                               32
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 32 of 65 Page ID
                                      #:800


  1   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  2   "'carries the burden of demonstrating that the failure to comply with" disclosure
  3   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  4   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  5        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  6   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
  7   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  8   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  9   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 10   response to each and every interrogatory referring to his prior court filings, which is
 11   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 12   repeated failures to serve compliant responses thwarts the very purpose of
 13   discovery, which is "to remove surprise from trial preparation so the parties can
 14   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 15   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 16        Plaintiff's failure to meaningfully participate in the discovery process has
 17   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 18   be tried on the merits because CSU currently has no access to the "true facts" of the
 19   case, beyond the information within its own possession. Importantly, this Court
 20   already warned Plaintiff of the potential for sanctions, including termination
 21   sanctions, that may result from his "failure timely to comply fully" with the Court's
 22   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 23   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 24   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 25   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 26        Opposing Party's Position: Plaintiff provided his response in a separate
 27   document. See Matsushima Deel., ,-r 18, Ex. I.
 28
                                                33
Case 2:24-cv-03791-RGK-E       Document 79-2 Filed 02/25/25      Page 33 of 65 Page ID
                                        #:801


  1   XII. INTERROGATORY No. 12
  2        Interrogatory: STATE ALL FACTS in support of YOUR allegation that
  3   YOUR kippah and tefillin were stolen, as alleged in paragraph 50 of the
  4   COMPLAINT.
  5        Response: Plaintiff provides this response based on either his current
  6   recollection, memory, and information reasonably available, or its entirety.
  7   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
  8   allegation, as characterized by this interrogatory, but rather is factual. On the basis
  9   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 1O   specifically reaffirms that his Complaint serves as the true integrity of the response
 11   to this interrogatory.
 12        Moving Party's Position: A party may serve on any other party written
 13   interrogatories that "may relate to any matter that may be inquired into under Rule
 14   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 15   party to whom they are directed," and the answering party must sign the responses.
 16   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 17        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 18   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 19   have "unambiguously" rejected as deficient the assertion that the requested
 20   information is already in the propounding party's possession. Nat'l Acad. of
 21   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 22   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 23   '"answer an interrogatory by specifying records from which the answers may be
 24   obtained and by making the records available for inspection,"' a "party that elects
 25   to avail itself of this option ... must 'specify where in the records the answers
 26   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 27   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 28   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney

                                                34
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 34 of 65 Page ID
                                      #:802


  1   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  2        If a party "fails to obey an order to provide or permit discovery," the court
  3   may "issue further just orders," including: prohibiting the disobedient party from
  4   supporting or opposing designated claims or defenses, or from introducing
  5   designated matters in evidence; striking pleadings in whole or in part; dismissing
  6   the action or proceeding in whole or in part; or rendering a default judgment against
  7   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  8   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
  9   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 10   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 11   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 12   discovery violations make it impossible for a court to be confident that the parties
 13   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 14   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 15   "'carries the burden of demonstrating that the failure to comply with" disclosure
 16   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 17   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 18        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 19   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 20   Rule 26(b )( 1), and ordered Plaintiff to "serve without objection verified answers to
 21   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 22   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 23   response to each and every interrogatory referring to his prior court filings, which is
 24   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 25   repeated failures to serve compliant responses thwarts the very purpose of
 26   discovery, which is "to remove surprise from trial preparation so the parties can
 27   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 28   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).

                                               35
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 35 of 65 Page ID
                                       #:803


  1        Plaintiffs failure to meaningfully participate in the discovery process has
  2   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  3   be tried on the merits because CSU currently has no access to the "true facts" of the
  4   case, beyond the information within its own possession. Importantly, this Court
  5   already warned Plaintiff of the potential for sanctions, including termination
  6   sanctions, that may result from his "failure timely to comply fully" with the Court's
  7   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  8   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  9   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 10   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 11        Opposing Party's Position: Plaintiff provided his response in a separate
 12   document. See Matsushima Deel., 118, Ex. I.
 13   XIII. INTERROGATORYN0.13
 14        Interrogatory: STATE ALL FACTS in support of YOUR contention that
 15   CSUN "allow[ed] Antisemitism," as stated in paragraph 55 of the COMPLAINT.
 16        Response: Plaintiff provides this response based on either his current
 17   recollection, memory, and information reasonably available, or its entirety.
 18   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
 19   given information towards case number 2:24-cv-03791 as the true integrity of the
 20   response to this interrogatory.
 21        Moving Party's Position: A party may serve on any other party written
 22   interrogatories that "may relate to any matter that may be inquired into under Rule
 23   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 24   party to whom they are directed," and the answering party must sign the responses.
 25   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 26        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 27   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 28   have "unambiguously" rejected as deficient the assertion that the requested
                                                 36
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 36 of 65 Page ID
                                      #:804


  1   information is already in the propounding party's possession. Nat'! Acad. of
  2   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  3   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  4   "'answer an interrogatory by specifying records from which the answers may be
  5   obtained and by making the records available for inspection,"' a "party that elects
  6   to avail itself of this option ... must 'specify where in the records the answers
  7   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  8   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  9   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 10   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 11        If a party "fails to obey an order to provide or permit discovery," the court
 12   may "issue further just orders," including: prohibiting the disobedient party from
 13   supporting or opposing designated claims or defenses, or from introducing
 14   designated matters in evidence; striking pleadings in whole or in part; dismissing
 15   the action or proceeding in whole or in part; or rendering a default judgment against
 16   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 17   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 18   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
 19   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 20   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 21   discovery violations make it impossible for a court to be confident that the parties
 22   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 23   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 24   "'carries the burden of demonstrating that the failure to comply with" disclosure
 25   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 26   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 27        Here, the Magistrate Judge previously found that CSU's interrogatories consist
 28   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
                                               37
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 37 of 65 Page ID
                                       #:805


  1   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  2   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  3   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  4   response to each and every interrogatory referring to his prior court filings, which is
  5   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
  6   repeated failures to serve compliant responses thwarts the very purpose of
  7   discovery, which is "to remove surprise from trial preparation so the parties can
  8   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  9   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 10        Plaintiff's failure to meaningfully participate in the discovery process has
 11   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 12   be tried on the merits because CSU currently has no access to the "true facts" of the
 13   case, beyond the information within its own possession. Importantly, this Court
 14   already warned Plaintiff of the potential for sanctions, including termination
 15   sanctions, that may result from his "failure timely to comply fully" with the Court's
 16   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 17   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 18   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 19   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 20        Opposing Party's Position: Plaintiff provided his response in a separate
 21   document. See Matsushima Deel., 118, Ex. I.
 22   XIV. INTERROGATORY No.14
 23        Interrogatory: STATE ALL FACTS RELATING TO the "Antisemitic
 24   attacks towards Jewish people" referenced in paragraph 57 of the COMPLAINT.
 25        Response: Plaintiff provides this response based on either his current
 26   recollection, memory, and information reasonably available, or its entirety.
 27   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
 28   given information towards case number 2:24-cv-03791 as the true integrity of the
                                                 38
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 38 of 65 Page ID
                                      #:806


  1   response to this interrogatory.
  2        Moving Party's Position: A party may serve on any other party written
  3   interrogatories that "may relate to any matter that may be inquired into under Rule
  4   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  5   party to whom they are directed," and the answering party must sign the responses.
  6   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  7        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  8   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  9   have "unambiguously" rejected as deficient the assertion that the requested
 10   information is already in the propounding party's possession. Nat'! Acad. of
 11   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 12   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 13   "'answer an interrogatory by specifying records from which the answers may be
 14   obtained and by making the records available for inspection,"' a "party that elects
 15   to avail itself of this option ... must 'specify where in the records the answers
 16   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 17   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 18   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 19   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 20        If a party "fails to obey an order to provide or permit discovery," the court
 21   may "issue further just orders," including: prohibiting the disobedient party from
 22   supporting or opposing designated claims or defenses, or from introducing
 23   designated matters in evidence; striking pleadings in whole or in part; dismissing
 24   the action or proceeding in whole or in part; or rendering a default judgment against
 25   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 26   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 27   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 28   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
                                               39
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 39 of 65 Page ID
                                      #:807


  1   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  2   discovery violations make it impossible for a court to be confident that the parties
  3   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
  4   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  5   "'carries the burden of demonstrating that the failure to comply with" disclosure
  6   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  7   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  8        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  9   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 10   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
 11   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 12   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 13   response to each and every interrogatory referring to his prior court filings, which is
 14   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 15   repeated failures to serve compliant responses thwarts the very purpose of
 16   discovery, which is "to remove surprise from trial preparation so the parties can
 17   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 18   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 19        Plaintiffs failure to meaningfully participate in the discovery process has
 20   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 21   be tried on the merits because CSU currently has no access to the "true facts" of the
 22   case, beyond the information within its own possession. Importantly, this Court
 23   already warned Plaintiff of the potential for sanctions, including termination
 24   sanctions, that may result from his "failure timely to comply fully" with the Court's
 25   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 26   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 27   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 28   an order excluding Plaintiffs evidence at
                                               40
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25         Page 40 of 65 Page ID
                                      #:808


  1        Opposing Party's Position: Plaintiff provided his response in a separate
  2   document. See Matsushima Deel., 118, Ex. I.
  3   XV. INTERROGATORY No. 15
  4        Interrogatory: STATE ALL FACTS RELATING TO YOUR meeting with
  5   WATKINS, as referenced in paragraph 60 of the COMPLAINT.
  6        Response: Plaintiff provides this response based on either his current
  7   recollection, memory, and information reasonably available, or its entirety.
  8   Plaintiff, a witness to the events, specifically reaffirms that his Complaint serves as
  9   the true integrity of the response to this interrogatory.
 10        Moving Party's Position: A party may serve on any other party written
 11   interrogatories that "may relate to any matter that may be inquired into under Rule
 12   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 13   party to whom they are directed," and the answering party must sign the responses.
 14   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 15        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 16   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 17   have "unambiguously" rejected as deficient the assertion that the requested
 18   information is already in the propounding party's possession. Nat'! Acad. of
 19   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 20   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 21   "'answer an interrogatory by specifying records from which the answers may be
 22   obtained and by making the records available for inspection,"' a "party that elects
 23   to avail itself of this option ... must 'specify where in the records the answers
 24   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 25   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 26   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 27   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 28        If a party "fails to obey an order to provide or permit discovery," the court
                                                41
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 41 of 65 Page ID
                                      #:809


  1   may "issue further just orders," including: prohibiting the disobedient party from
  2   supporting or opposing designated claims or defenses, or from introducing
  3   designated matters in evidence; striking pleadings in whole or in part; dismissing
  4   the action or proceeding in whole or in part; or rendering a default judgment against
  5   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  6   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
  7   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
  8   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  9   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 10   discovery violations make it impossible for a court to be confident that the parties
 11   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 12   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 13   "'carries the burden of demonstrating that the failure to comply with" disclosure
 14   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 15   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 16        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 17   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 18   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
 19   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 20   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 21   response to each and every interrogatory referring to his prior court filings, which is
 22   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 23   repeated failures to serve compliant responses thwarts the very purpose of
 24   discovery, which is "to remove surprise from trial preparation so the parties can
 25   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 26   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 27        Plaintiff's failure to meaningfully participate in the discovery process has
 28   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
                                               42
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25         Page 42 of 65 Page ID
                                      #:810


  1   be tried on the merits because CSU currently has no access to the "true facts" of the
  2   case, beyond the information within its own possession. Importantly, this Court
  3   already warned Plaintiff of the potential for sanctions, including termination
  4   sanctions, that may result from his "failure timely to comply fully" with the Court's
  5   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  6   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  7   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  8   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  9        Opposing Party's Position: Plaintiff provided his response in a separate
 10   document. See Matsushima Deel., 118, Ex. I.
 11   XVI. INTERROGATORY No. 16
 12        Interrogatory: STATE ALL FACTS RELATING TO YOUR discussion(s)
 13   with Jodi Johnson, as referenced in paragraph 62 of the COMPLAINT.
 14        Response: Plaintiff provides this response based on either his current
 15   recollection, memory, and information reasonably available, or its entirety.
 16   Plaintiff, a witness to the events, specifically reaffirms that his Complaint serves as
 17   the true integrity of the response to this interrogatory.
 18        Moving Party's Position: A party may serve on any other party written
 19   interrogatories that "may relate to any matter that may be inquired into under Rule
 20   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 21   party to whom they are directed," and the answering party must sign the responses.
 22   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 23        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 24   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 25   have "unambiguously" rejected as deficient the assertion that the requested
 26   information is already in the propounding party's possession. Nat'! Acad. of
 27   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 28   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
                                                43
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 43 of 65 Page ID
                                      #:811


  1   "'answer an interrogatory by specifying records from which the answers may be
  2   obtained and by making the records available for inspection,"' a "party that elects
  3   to avail itself of this option ... must 'specify where in the records the answers
  4   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  5   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  6   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  7   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  8        If a party "fails to obey an order to provide or permit discovery," the court
  9   may "issue further just orders," including: prohibiting the disobedient party from
 10   supporting or opposing designated claims or defenses, or from introducing
 11   designated matters in evidence; striking pleadings in whole or in part; dismissing
 12   the action or proceeding in whole or in part; or rendering a default judgment against
 13   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 14   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 15   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 16   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 17   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 18   discovery violations make it impossible for a court to be confident that the parties
 19   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 20   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 21   "'carries the burden of demonstrating that the failure to comply with" disclosure
 22   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 23   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 24        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 25   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 26   Rule 26(b )( 1), and ordered Plaintiff to "serve without objection verified answers to
 27   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 28   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
                                               44
Case 2:24-cv-03791-RGK-E      Document 79-2 Filed 02/25/25         Page 44 of 65 Page ID
                                       #:812


  1   response to each and every interrogatory referring to his prior court filings, which is
  2   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
  3   repeated failures to serve compliant responses thwarts the very purpose of
  4   discovery, which is "to remove surprise from trial preparation so the parties can
  5   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  6   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  7        Plaintiff's failure to meaningfully participate in the discovery process has
  8   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  9   be tried on the merits because CSU currently has no access to the "true facts" of the
 10   case, beyond the information within its own possession. Importantly, this Court
 11   already warned Plaintiff of the potential for sanctions, including termination
 12   sanctions, that may result from his "failure timely to comply fully" with the Court's
 13   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 14   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 15   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 16   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 17        Opposing Party's Position: Plaintiff provided his response in a separate
 18   document. See Matsushima Deel., 1 18, Ex. I.
 19   XVII.INTERR0GAT0RYN0.17
 20        Interrogatory: STATE ALL FACTS RELATING TO YOUR interaction
 21   with Marilyn Mendoza, as referenced in paragraph 65 of the COMPLAINT.
 22        Response: Plaintiff provides this response based on either his current
 23   recollection, memory, and information reasonably available, or its entirety.
 24   Plaintiff, a witness to the events, specifically reaffirms to the entirety of all his
 25   given information towards case number 2:24-cv-03791 as the true integrity of the
 26   response to this interrogatory.
 27        Moving Party's Position: A party may serve on any other party written
 28   interrogatories that "may relate to any matter that may be inquired into under Rule
                                                 45
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 45 of 65 Page ID
                                      #:813


  1   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  2   party to whom they are directed," and the answering party must sign the responses.
  3   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  4        In responding to discovery, an "evasive or incomplete disclosure, answer, or
  5   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
  6   have "unambiguously" rejected as deficient the assertion that the requested
  7   information is already in the propounding party's possession. Nat'! Acad. of
  8   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  9   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 10   '"answer an interrogatory by specifying records from which the answers may be
 11   obtained and by making the records available for inspection,"' a "party that elects
 12   to avail itself of this option ... must 'specify where in the records the answers
 13   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 14   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 15   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 16   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 17        If a party "fails to obey an order to provide or permit discovery," the court
 18   may "issue further just orders," including: prohibiting the disobedient party from
 19   supporting or opposing designated claims or defenses, or from introducing
 20   designated matters in evidence; striking pleadings in whole or in part; dismissing
 21   the action or proceeding in whole or in part; or rendering a default judgment against
 22   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 23   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 24   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 25   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 26   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 27   discovery violations make it impossible for a court to be confident that the parties
 28   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
                                               46
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 46 of 65 Page ID
                                      #:814


  1   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  2   "'carries the burden of demonstrating that the failure to comply with" disclosure
  3   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  4   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
  5        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
  6   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
  7   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  8   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  9   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 10   response to each and every interrogatory referring to his prior court filings, which is
 11   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 12   repeated failures to serve compliant responses thwarts the very purpose of
 13   discovery, which is "to remove surprise from trial preparation so the parties can
 14   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 15   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 16        Plaintiff's failure to meaningfully participate in the discovery process has
 17   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 18   be tried on the merits because CSU currently has no access to the "true facts" of the
 19   case, beyond the information within its own possession. Importantly, this Court
 20   already warned Plaintiff of the potential for sanctions, including termination
 21   sanctions, that may result from his "failure timely to comply fully" with the Court's
 22   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 23   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 24   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 25   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 26        Opposing Party's Position: Plaintiff provided his response in a separate
 27   document. See Matsushima Deel., ,-r 18, Ex. I.
 28
                                               47
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25         Page 47 of 65 Page ID
                                      #:815


  1   XVIII.       INTERROGATORY No. 18
  2        Interrogatory: STATE ALL FACTS RELATING TO YOUR interaction
  3   with Executive Assistant Robin Ferguson, as referenced in paragraph 66 of the
  4   COMPLAINT.
  5        Response: Plaintiff provides this response based on either his current
  6   recollection, memory, and information reasonably available, or its entirety.
  7   Plaintiff, a witness to the events, specifically reaffirms that his Complaint serves as
  8   the true integrity of the response to this interrogatory.
  9        Moving Party's Position: A party may serve on any other party written
 1o   interrogatories that "may relate to any matter that may be inquired into under Rule
 11   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 12   party to whom they are directed," and the answering party must sign the responses.
 13   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 14        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 15   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 16   have "unambiguously" rejected as deficient the assertion that the requested
 17   information is already in the propounding party's possession. Nat'! Acad. of
 18   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 19   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 20   "'answer an interrogatory by specifying records from which the answers may be
 21   obtained and by making the records available for inspection,"' a "party that elects
 22   to avail itself of this option ... must 'specify where in the records the answers
 23   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 24   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 25   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 26   Co. v. DeFabiis, 168 F.R.D. 281,284 {C.D. Cal. 1996).
 27        If a party "fails to obey an order to provide or permit discovery," the court
 28   may "issue further just orders," including: prohibiting the disobedient party from

                                                48
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 48 of 65 Page ID
                                      #:816


  1   supporting or opposing designated claims or defenses, or from introducing
  2   designated matters in evidence; striking pleadings in whole or in part; dismissing
  3   the action or proceeding in whole or in part; or rendering a default judgment against
  4   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  5   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
  6   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
  7   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  8   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  9   discovery violations make it impossible for a court to be confident that the parties
 10   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 11   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 12   "'carries the burden of demonstrating that the failure to comply with" disclosure
 13   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 14   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 15        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 16   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 17   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 18   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 19   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 20   response to each and every interrogatory referring to his prior court filings, which is
 21   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 22   repeated failures to serve compliant responses thwarts the very purpose of
 23   discovery, which is "to remove surprise from trial preparation so the parties can
 24   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 25   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 26        Plaintiff's failure to meaningfully participate in the discovery process has
 27   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 28   be tried on the merits because CSU currently has no access to the "true facts" of the
                                               49
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 49 of 65 Page ID
                                      #:817


  1   case, beyond the information within its own possession. Importantly, this Court
  2   already warned Plaintiff of the potential for sanctions, including termination
  3   sanctions, that may result from his "failure timely to comply fully" with the Court's
  4   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  5   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  6   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  7   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  8        Opposing Party's Position: Plaintiff provided his response in a separate
  9   document. See Matsushima Deel., 118, Ex. I.
 10   XIX. INTERR0GAT0RYN0.19
 11        Interrogatory: STATE ALL FACTS RELATING TO YOUR contention that
 12   CSU chose "not to accommodate Plaintiff for his fears, worries, and stress from the
 13   members of the University," as alleged in paragraph 74 of the COMPLAINT.
 14        Response: Plaintiff provides this response based on either his current
 15   recollection, memory, and information reasonably available, or its entirety.
 16   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 17   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 18   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 19   specifically reaffirms to the entirety of all his given information towards case
 20   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
 21        Moving Party's Position: A party may serve on any other party written
 22   interrogatories that "may relate to any matter that may be inquired into under Rule
 23   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 24   party to whom they are directed," and the answering party must sign the responses.
 25   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 26        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 27   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 28   have "unambiguously" rejected as deficient the assertion that the requested
                                                50
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 50 of 65 Page ID
                                      #:818


  1   information is already in the propounding party's possession. Nat'! Acad. of
  2   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  3   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  4   "'answer an interrogatory by specifying records from which the answers may be
  5   obtained and by making the records available for inspection,"' a "party that elects
  6   to avail itself of this option ... must 'specify where in the records the answers
  7   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  8   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  9   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 10   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 11        If a party "fails to obey an order to provide or permit discovery," the court
 12   may "issue further just orders," including: prohibiting the disobedient party from
 13   supporting or opposing designated claims or defenses, or from introducing
 14   designated matters in evidence; striking pleadings in whole or in part; dismissing
 15   the action or proceeding in whole or in part; or rendering a default judgment against
 16   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 17   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 18   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 19   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 20   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 21   discovery violations make it impossible for a court to be confident that the parties
 22   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 23   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 24   "'carries the burden of demonstrating that the failure to comply with" disclosure
 25   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 26   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 27        Here, the Magistrate Judge previously found that CSU's interrogatories consist
 28   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
                                               51
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 51 of 65 Page ID
                                      #:819


  1   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
  2   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  3   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  4   response to each and every interrogatory referring to his prior court filings, which is
  5   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
  6   repeated failures to serve compliant responses thwarts the very purpose of
  7   discovery, which is "to remove surprise from trial preparation so the parties can
  8   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  9   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 10        Plaintiff's failure to meaningfully participate in the discovery process has
 11   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 12   be tried on the merits because CSU currently has no access to the "true facts" of the
 13   case, beyond the information within its own possession. Importantly, this Court
 14   already warned Plaintiff of the potential for sanctions, including termination
 15   sanctions, that may result from his "failure timely to comply fully" with the Court's
 16   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 17   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 18   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 19   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 20        Opposing Party's Position: Plaintiff provided his response in a separate
 21   document. See Matsushima Deel., 118, Ex. I.
 22   XX. INTERROGATORY No. 20
 23        Interrogatory: STATE ALL FACTS in support of YOUR contention that
 24   CSU's actions or inactions negatively impacted YOUR participation and experience
 25   in the MBA program, as alleged in paragraph 74 of the COMPLAINT.
 26        Response: Plaintiff provides this response based on either his current
 27   recollection, memory, and information reasonably available, or its entirety.
 28   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
                                                52
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 52 of 65 Page ID
                                      #:820


  1   allegation, as characterized by this interrogatory, but rather is factual. On the basis
  2   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
  3   specifically reaffirms to the entirety of all his given information towards case
  4   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
  5        Moving Party's Position: A party may serve on any other party written
  6   interrogatories that "may relate to any matter that may be inquired into under Rule
  7   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  8   party to whom they are directed," and the answering party must sign the responses.
  9   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 10        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 11   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 12   have "unambiguously" rejected as deficient the assertion that the requested
 13   information is already in the propounding party's possession. Nat'! Acad. of
 14   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 15   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 16   "'answer an interrogatory by specifying records from which the answers may be
 17   obtained and by making the records available for inspection,"' a "party that elects
 18   to avail itself of this option ... must 'specify where in the records the answers
 19   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 20   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 21   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 22   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 23        If a party "fails to obey an order to provide or permit discovery," the court
 24   may "issue further just orders," including: prohibiting the disobedient party from
 25   supporting or opposing designated claims or defenses, or from introducing
 26   designated matters in evidence; striking pleadings in whole or in part; dismissing
 27   the action or proceeding in whole or in part; or rendering a default judgment against
 28   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
                                                53
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 53 of 65 Page ID
                                      #:821


  1   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
  2   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
  3   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  4   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  5   discovery violations make it impossible for a court to be confident that the parties
  6   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
  7   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  8   "'carries the burden of demonstrating that the failure to comply with" disclosure
  9   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 10   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 11        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 12   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 13   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 14   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 15   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 16   response to each and every interrogatory referring to his prior court filings, which is
 17   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 18   repeated failures to serve compliant responses thwarts the very purpose of
 19   discovery, which is "to remove surprise from trial preparation so the parties can
 20   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 21   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 22        Plaintiffs failure to meaningfully participate in the discovery process has
 23   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 24   be tried on the merits because CSU currently has no access to the "true facts" of the
 25   case, beyond the information within its own possession. Importantly, this Court
 26   already warned Plaintiff of the potential for sanctions, including termination
 27   sanctions, that may result from his "failure timely to comply fully" with the Court's
 28   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
                                               54
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 54 of 65 Page ID
                                      #:822


  1   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  2   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  3   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  4        Opposing Party's Position: Plaintiff provided his response in a separate
  5   document. See Matsushima Deel., ,-r 18, Ex. I.
  6   XXI. INTERROGATORY No. 21
  7        Interrogatory: STATE ALL FACTS in support of YOUR allegation that
  8   Professor Thomas Wedel utilized inappropriate examples of YOUR "situation" in
  9   the Systems and Operations Management course, as alleged in paragraphs 75 and
 10   76 of the COMPLAINT.
 11        Response: Plaintiff provides this response based on either his current
 12   recollection, memory, and information reasonably available, or its entirety.
 13   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 14   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 15   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 16   specifically reaffirms to the entirety of all his given information towards case
 17   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
 18        Moving Party's Position: A party may serve on any other party written
 19   interrogatories that "may relate to any matter that may be inquired into under Rule
 20   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 21   party to whom they are directed," and the answering party must sign the responses.
 22   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 23        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 24   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 25   have "unambiguously" rejected as deficient the assertion that the requested
 26   information is already in the propounding party's possession. Nat'! Acad. of
 27   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 28   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
                                                55
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 55 of 65 Page ID
                                      #:823


  1   "'answer an interrogatory by specifying records from which the answers may be
  2   obtained and by making the records available for inspection,"' a "party that elects
  3   to avail itself of this option ... must 'specify where in the records the answers
  4   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  5   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  6   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  7   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
  8        If a party "fails to obey an order to provide or permit discovery," the court
  9   may "issue further just orders," including: prohibiting the disobedient party from
 10   supporting or opposing designated claims or defenses, or from introducing
 11   designated matters in evidence; striking pleadings in whole or in part; dismissing
 12   the action or proceeding in whole or in part; or rendering a default judgment against
 13   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 14   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
 15   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 16   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 17   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 18   discovery violations make it impossible for a court to be confident that the parties
 19   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F.3d at
 20   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 21   "'carries the burden of demonstrating that the failure to comply with" disclosure
 22   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 23   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 24        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 25   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 26   Rule 26(b )( 1), and ordered Plaintiff to "serve without objection verified answers to
 27   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 28   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
                                               56
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 56 of 65 Page ID
                                      #:824


  1   response to each and every interrogatory referring to his prior court filings, which is
  2   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
  3   repeated failures to serve compliant responses thwarts the very purpose of
  4   discovery, which is "to remove surprise from trial preparation so the parties can
  5   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  6   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  7        Plaintiff's failure to meaningfully participate in the discovery process has
  8   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
  9   be tried on the merits because CSU currently has no access to the "true facts" of the
 10   case, beyond the information within its own possession. Importantly, this Court
 11   already warned Plaintiff of the potential for sanctions, including termination
 12   sanctions, that may result from his "failure timely to comply fully" with the Court's
 13   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 14   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 15   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 16   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 17        Opposing Party's Position: Plaintiff provided his response in a separate
 18   document. See Matsushima Deel., 118, Ex. I.
 19   XXII.INTERROGATORYNO. 22
 20        Interrogatory: STATE ALL FACTS in support of YOUR allegation that
 21   CSU engaged in "retaliatory and discriminatory conduct against [YOU] for
 22   reporting students who were cheating, reporting their faculties misconduct,
 23   participating in religious activities, rightfully protesting against Antisemitism, and
 24   for reporting a faculty member to the [United States Department of Education
 25   Office of Civil Rights], by harassing, threatening, disciplining, and punishing
 26   [YOU] through charges of violation, suspension, and probation in an attempt to
 27   prevent [YOU] from ever engaging in the participation of [YOUR] protected
 28   activities," as alleged in paragraph 90 of the COMPLAINT.
                                                57
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 57 of 65 Page ID
                                      #:825


  1        Response: Plaintiff provides this response based on either his current
  2   recollection, memory, and information reasonably available, or its entirety.
  3   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
  4   allegation, as characterized by this interrogatory, but rather is factual. On the basis
  5   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
  6   specifically reaffirms to the entirety of all his given information towards case
  7   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
  8        Moving Party's Position: A party may serve on any other party written
  9   interrogatories that "may relate to any matter that may be inquired into under Rule
 10   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 11   party to whom they are directed," and the answering party must sign the responses.
 12   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 13        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 14   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 15   have "unambiguously" rejected as deficient the assertion that the requested
 16   information is already in the propounding party's possession. Nat'! Acad. of
 17   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
 18   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 19   '"answer an interrogatory by specifying records from which the answers may be
 20   obtained and by making the records available for inspection,"' a "party that elects
 21   to avail itself of this option ... must 'specify where in the records the answers
 22   [can] be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 23   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 24   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 25   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 26        If a party "fails to obey an order to provide or permit discovery," the court
 27   may "issue further just orders," including: prohibiting the disobedient party from
 28   supporting or opposing designated claims or defenses, or from introducing
                                                58
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 58 of 65 Page ID
                                      #:826


  1   designated matters in evidence; striking pleadings in whole or in part; dismissing
  2   the action or proceeding in whole or in part; or rendering a default judgment against
  3   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
  4   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
  5   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
  6   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  7   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  8   discovery violations make it impossible for a court to be confident that the parties
  9   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 10   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 11   "'carries the burden of demonstrating that the failure to comply with" disclosure
 12   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 13   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 14        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 15   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 16   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
 17   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 18   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 19   response to each and every interrogatory referring to his prior court filings, which is
 20   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
 21   repeated failures to serve compliant responses thwarts the very purpose of
 22   discovery, which is "to remove surprise from trial preparation so the parties can
 23   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 24   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 25        Plaintiff's failure to meaningfully participate in the discovery process has
 26   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 27   be tried on the merits because CSU currently has no access to the "true facts" of the
 28   case, beyond the information within its own possession. Importantly, this Court
                                               59
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 59 of 65 Page ID
                                      #:827


  1   already warned Plaintiff of the potential for sanctions, including termination
  2   sanctions, that may result from his "failure timely to comply fully" with the Court's
  3   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
  4   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
  5   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  6   an order excluding Plaintiff's evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  7        Opposing Party's Position: Plaintiff provided his response in a separate
  8   document. See Matsushima Deel.,, 18, Ex. I.
  9   XXIII.       INTERROGATORY No. 23

 10        Interrogatory: STATE ALL FACTS in support of YOUR allegation that
 11   CSU marked YOU as a "high-level threat," as alleged in paragraph 91 of the
 12   COMPLAINT.
 13        Response: Plaintiff provides this response based on either his current
 14   recollection, memory, and information reasonably available, or its entirety.
 15   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 16   allegation, as characterized by this interrogatory, but rather is factual. On the basis
 17   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
 18   specifically reaffirms to the entirety of all his given information towards case
 19   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
 20        Moving Party's Position: A party may serve on any other party written
 21   interrogatories that "may relate to any matter that may be inquired into under Rule
 22   26(b)." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
 23   party to whom they are directed," and the answering party must sign the responses.
 24   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
 25        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 26   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 27   have "unambiguously" rejected as deficient the assertion that the requested
 28   information is already in the propounding party's possession. Nat'! Acad. of
                                                60
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 60 of 65 Page ID
                                      #:828


  1   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D.
  2   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
  3   "'answer an interrogatory by specifying records from which the answers may be
  4   obtained and by making the records available for inspection,"' a "party that elects
  5   to avail itself of this option ... must 'specify where in the records the answers
  6   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
  7   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
  8   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
  9   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 10        If a party "fails to obey an order to provide or permit discovery," the court
 11   may "issue further just orders," including: prohibiting the disobedient party from
 12   supporting or opposing designated claims or defenses, or from introducing
 13   designated matters in evidence; striking pleadings in whole or in part; dismissing
 14   the action or proceeding in whole or in part; or rendering a default judgment against
 15   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 16   severe," is justified based upon a showing of ''willfulness, bad faith, and fault."
 17   Connecticut Gen. Life Ins. Co., 482 F.3d at 1096 (discussing the factors to consider
 18   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
 19   critical factor to be considered in case-dispositive sanctions is whether 'a party's
 20   discovery violations make it impossible for a court to be confident that the parties
 21   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
 22   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
 23   "'carries the burden of demonstrating that the failure to comply with" disclosure
 24   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
 25   (quoting Jarrow Formulas, Inc., 2012 WL 3186576, at *15).
 26        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 27   ofnonprivileged matters that are relevant to a party's claim or defense, pursuant to
 28   Rule 26(b)( 1), and ordered Plaintiff to "serve without objection verified answers to
                                               61
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 61 of 65 Page ID
                                      #:829


  1   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
  2   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
  3   response to each and every interrogatory referring to his prior court filings, which is
  4   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiff's
  5   repeated failures to serve compliant responses thwarts the very purpose of
  6   discovery, which is "to remove surprise from trial preparation so the parties can
  7   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
  8   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
  9        Plaintiff's failure to meaningfully participate in the discovery process has
 10   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 11   be tried on the merits because CSU currently has no access to the "true facts" of the
 12   case, beyond the information within its own possession. Importantly, this Court
 13   already warned Plaintiff of the potential for sanctions, including termination
 14   sanctions, that may result from his "failure timely to comply fully" with the Court's
 15   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 16   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
 17   sanctions including attorney's fees and dismissal of this action or, in the alternative,
 18   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
 19        Opposing Party's Position: Plaintiff provided his response in a separate
 20   document. See Matsushima Deel., 1 18, Ex. I.
 21   XXIV.        INTERROGATORYN0.24
 22        Interrogatory: STATE ALL FACTS in support of YOUR allegation that
 23   CSU created a "hostile environment," as alleged in paragraph 105 of the
 24   COMPLAINT.
 25        Response: Plaintiff provides this response based on either his current
 26   recollection, memory, and information reasonably available, or its entirety.
 27   Plaintiff, a witness to the events, specifically emphasizes that his claims are not an
 28   allegation, as characterized by this interrogatory, but rather is factual. On the basis
                                                62
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 62 of 65 Page ID
                                      #:830


  1   of Plaintiffs previously stated emphasis aforementioned above, Plaintiff
  2   specifically reaffirms to the entirety of all his given information towards case
  3   number 2:24-cv-03791 as the true integrity of the response to this interrogatory.
  4        Moving Party's Position: A party may serve on any other party written
  5   interrogatories that "may relate to any matter that may be inquired into under Rule
  6   26(b )." Fed. R. Civ. P. 33(a). "The interrogatories must be answered ... by the
  7   party to whom they are directed," and the answering party must sign the responses.
  8   Id. at Rule 33(b)(l)(A)-(2), (b)(5).
  9        In responding to discovery, an "evasive or incomplete disclosure, answer, or
 10   response must be treated as a failure to ... respond." Id. at Rule 37(a)(4). Courts
 11   have "unambiguously" rejected as deficient the assertion that the requested
 12   information is already in the propounding party's possession. Nat'! Acad. of
 13   Recording Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678,682 (C.D.
 14   Cal. 2009). Moreover, although Rule 33(d) permits the responding party to
 15   "'answer an interrogatory by specifying records from which the answers may be
 16   obtained and by making the records available for inspection,"' a "party that elects
 17   to avail itself of this option ... must 'specify where in the records the answers
 18   [can} be found."' Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 19   322 (C.D. Cal. 2004) (quoting Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
 20   Inv. Corp., 711 F.2d 902, 906 (9th Cir.1983)) (italics added); see also Walt Disney
 21   Co. v. DeFabiis, 168 F.R.D. 281,284 (C.D. Cal. 1996).
 22        If a party "fails to obey an order to provide or permit discovery," the court
 23   may "issue further just orders," including: prohibiting the disobedient party from
 24   supporting or opposing designated claims or defenses, or from introducing
 25   designated matters in evidence; striking pleadings in whole or in part; dismissing
 26   the action or proceeding in whole or in part; or rendering a default judgment against
 27   the disobedient party. Rule 37(b)(2)(A). A terminating sanction, while "very
 28   severe," is justified based upon a showing of "willfulness, bad faith, and fault."
                                               63
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25       Page 63 of 65 Page ID
                                      #:831


  1   Connecticut Gen. Life Ins. Co., 482 F .3d at 1096 (discussing the factors to consider
  2   when evaluating termination sanctions); Fed. R. Civ. P. 37(b)(2)(A)(v). "The most
  3   critical factor to be considered in case-dispositive sanctions is whether 'a party's
  4   discovery violations make it impossible for a court to be confident that the parties
  5   will ever have access to the true facts."' Connecticut Gen. Life Ins. Co., 482 F .3d at
  6   1097 (quoting Valley Eng'rs, 158 F.3d at 1058. The party facing the sanctions
  7   "'carries the burden of demonstrating that the failure to comply with" disclosure
  8   rules "is substantially justified or harmless."' Haas, 679 F. Supp. 3d at 966
  9   (quotingJarrowFormulas, Inc., 2012 WL 3186576, at *15).
 10        Here, the Magistrate Judge previously found that CSU' s interrogatories consist
 11   of nonprivileged matters that are relevant to a party's claim or defense, pursuant to
 12   Rule 26(b)(l), and ordered Plaintiff to "serve without objection verified answers to
 13   the subject interrogatories[.]" Disc. Order 1-2, ECF 67; Matsushima Deel., Ex. A.
 14   Nevertheless, Plaintiff served only a boilerplate, garbled, incomplete, evasive
 15   response to each and every interrogatory referring to his prior court filings, which is
 16   tantamount to a complete failure to respond. Fed. R. Civ. P. 37(a)(4). Plaintiffs
 17   repeated failures to serve compliant responses thwarts the very purpose of
 18   discovery, which is "to remove surprise from trial preparation so the parties can
 19   obtain evidence necessary to evaluate and resolve their dispute." U.S. ex rel.
 20   Schwartz, 211 F.R.D. at 392 (citing Oakes, 179 F.R.D. at 283).
 21        Plaintiff's failure to meaningfully participate in the discovery process has
 22   prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot
 23   be tried on the merits because CSU currently has no access to the "true facts" of the
 24   case, beyond the information within its own possession. Importantly, this Court
 25   already warned Plaintiff of the potential for sanctions, including termination
 26   sanctions, that may result from his "failure timely to comply fully" with the Court's
 27   Discovery Order. Disc. Order 2-3, ECF 67; Matsushima Deel., Ex. A. Due to
 28   Plaintiffs failure to comply with this Court's Discovery Order, CSU seeks
                                               64
Case 2:24-cv-03791-RGK-E     Document 79-2 Filed 02/25/25        Page 64 of 65 Page ID
                                      #:832


  1   sanctions including attorney's fees and dismissal of this action or, in the alternative,
  2   an order excluding Plaintiffs evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii), (v).
  3         Opposing Party's Position: Plaintiff provided his response in a separate
  4   document. See Matsushima Deel., ,r 18, Ex. I.
  5
  6   Dated: February 25, 2025                       Respectfully submitted,
  7                                                  RoBBONTA
                                                     Attorney General of California
  8                                                  BENJAMIN G. DIEHL
                                                     Supervising Deputy Attorney General
  9
 10
 11
                                                     G
                                                     CRISTINA M. MATSUSHIMA
                                                     Deputy Attorney General
 12                                                  Attorneys.for Dt;fendant
 13
 14   Dated:
 15
 16
                                                     EDWIN HAMID NAHAVANDI
 17                                                  Plaintiff in Pro Per
 18   LA2024302735

 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                65
Case 2:24-cv-03791-RGK-E            Document 79-2 Filed 02/25/25            Page 65 of 65 Page ID
                                             #:833




                                   CERTIFICATE OF SERVICE
 Case Name:        Nahavandi v. Board of                  No.    2:24-cv-03791 RGK(Ex)
                   Trustees of the CSU

 I hereby certify that on February 25, 2025, I electronically filed the following documents with
 the Clerk of the Court by using the CM/ECF system:


  LOCAL RULE 37 JOINT STIPULATION IN SUPPORT OF DEFENDANT'S MOTION
   FOR TERMINATING SANCTIONS AND MONETARY SANCTIONS OR, IN THE
                 ALTERNATIVE, EVIDENTIARY SANCTIONS
 Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.
 I further certify that some of the participants in the case are not registered CM/ECF users. On
 February 25, 2025, I have caused to be mailed in the Office of the Attorney General's internal
 mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
 it to a third party commercial carrier for delivery within three (3) calendar days to the following
 non-CM/ECF participants:


 Edwin Nahavandi
 5710 Comanche Ave.
 Woodland Hills, CA. 91367
 edwin.nahovandi@gmail.com


 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on February
 25, 2025, at Los Angeles, California.


                 Cecilia Apodaca                                 /s/ Cecilia Apodaca
                    Declarant                                         Signature

 LA2024302735
 67451666.docx
